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 5   Attorney for Defendant
     MINH HUYNH
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       ) NO. CR S99-433 WBS
                                     )
13                  Plaintiff,       ) EX PARTE REQUEST AND [PROPOSED]
                                     ) ORDER FOR AN ORTHOPEDIC SHOE
14        v.                         )
                                     )
15   MINH HUYNH,                     )
                                     )
16                  Defendant.       )
                                     )
17   _______________________________ )
18
           Counsel has been informed that Mr. Huynh suffered a gunshot wound in
19
     approximately 1990.     Since that time, he has suffered pain in his leg.
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     Counsel has further been informed that in 1997, while incarcerated at the
21
     federal institution in Dublin, California, he was allowed to wear his
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     orthopedic shoe for more support.
23
           Mr. Huynh has informed counsel that his family will pay for the
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     orthopedic shoe. Therefore, counsel is requesting that Mr. Huynh’s family
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     be allowed to provide him with an orthopedic shoe.
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     ///
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     ///
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              Case 2:99-cr-00433-WBS Document 1291 Filed 06/17/09 Page 2 of 2


 1   Dated: June 9, 2009                    Respectfully Submitted,
 2
                                            /s/Chris Haydn-Myer
 3                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
 4                                          Minh Huynh
 5
 6
                                            ORDER
 7
                  The government has filed an opposition to the foregoing request,
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     pointing out that defendant has been in custody since 1996, and has never
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     before requested an orthopedic shoe or complained about the lack of an
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     orthopedic shoe, although he has complained about other alleged physical
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     conditions for which he has not been found to need special care or
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     treatment.      The only basis for the claim that defendant needs a special
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     shoe is the statement of the defendant himself.
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                  IT IS THEREFORE ORDERED that defendant’s request for an order
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     allowing his family to provide him with an orthopedic shoe be, and the
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     same hereby is, DENIED, without prejudice to the right of defendant to
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     file a noticed motion supported by appropriate declarations, and the right
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     of the government to request an evidentiary hearing on the motion.
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     DATED:     June 16, 2009
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28                                              2
